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                                      United States District Court
                                       Middle District of Florida
                                            Tampa Division

    ANDREW GIANCOLA,
    RAYMOND T. SCOTT, and
    PATRICIA SMITH,
    Individually and On behalf of
    Others Similarly Situated


           Plaintiffs,
    v.                                                      Case No.: 8:17-cv-2427-T-33AEP


    LINCARE HOLDINGS, INC.,


           Defendant.
                                             /


    AMENDED CASE MANAGEMENT AND SCHEDULING ORDER

    The Court enters this amended case management and scheduling order:


     Mandatory Initial Disclosures                                                 COMPLETED
     Certificate of Interested Persons and Corporate Disclosure                    COMPLETED
     Statement
     Motions to Add Parties or to Amend Pleadings                                  COMPLETED


     Discovery Deadline
                                                 For Class Certification:          May 14, 2018
     Motion for Class Certification                                               June 13, 2018
                                                             Response:             July 13, 2018


                                                                            NOTE: This deadline
                                                                             departs from Local
                                                                                Rule 4.04(b)
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     Motions for Summary Judgment, Judgment on the Pleadings,                            TBD
     Daubert, and Markman Motions
     NEW DATES:
     Responses due within thirty (30) days
     Replies due fourteen (14) days thereafter


     All other motions are subject to time limitations of the Federal
     Rules and Local Rules.

     All Other Motions Including Motions In Limine                                       TBD
     (MULTIPLE MOTIONS IN LIMINE ARE NOT FAVORED. ALL
     REQUESTS TO LIMIT EVIDENCE SHALL THEREFORE BE
     INCLUDED IN A SINGLE MOTION NOT TO EXCEED 25
     PAGES WITHOUT LEAVE OF COURT. RESPONSES ARE
     LIMITED TO 20 PAGES WITHOUT LEAVE OF COURT.)
     Meeting In Person to Prepare Joint Final Pretrial Statement                         TBD

     Joint Final Pretrial Statement (Including a Single Set of Jointly                   TBD
     Proposed Jury Instructions and Verdict Form, also sent to
     Chamber’s email
     [chambers_flmd_Covington@flmd.uscourts.gov] in Microsoft
     Word®, Witnesses Lists, Exhibit Lists on Approved Form)
     Final Pretrial Conference                                                           TBD
     Trial Term Begins                                                                   TBD
     Estimated Length of Trial                                                      8-10 days
     Jury/Non Jury                                                                       Jury
     Mediation                                                  Deadline:                TBD
                                                                Mediator:      Steven R. Jaffe


     Designated Lead Counsel                              Attorney Name:       David A. Weisz
     Pursuant to Local Rule 9.04(a)(3)
     Lead Counsel Telephone Number                   Telephone Number:        (813) 224-0431


           The purpose of this order is to discourage wasteful pretrial activities, and to

    secure the just, speedy, and inexpensive determination of the action. See Fed. R.

    Civ. P. 1; Local Rule 1.01(b). This order controls the subsequent course of this

    proceeding. Fed. R. Civ. P. 16(b), (e). Counsel and all parties (both represented

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    and pro se) shall comply with this order, with the Federal Rules of Civil Procedure,

    with the Local Rules of the United States District Court for the Middle District of

    Florida, and with the Administrative Procedures for Case Management/Electronic

    Case Filing. A copy of the Local Rules and Administrative Procedures may be

    viewed at http://www.flmd.uscourts.gov. Counsel shall also comply with the Ideals

    and Goals of Professionalism adopted by the Board of Governors of the Florida Bar

    on May 16, 1990 available at www.floridabar.org (Professional Practice-Henry

    Latimer Center for Professionalism); Local Rule 2.04(g).

    I.     DISCOVERY


            A.      Certificate of Interested Persons and Corporate Disclosure
    Statement – This Court has previously ordered each party, governmental party,
    intervenor, non-party movant, and Rule 69 garnishee to file and serve a Certificate
    of Interested Persons and Corporate Disclosure Statement using a mandatory form.
    No party may seek discovery from any source before filing and serving a Certificate
    of Interested Persons and Corporate Disclosure Statement. A motion,
    memorandum, response, or other paper – including emergency motion – may be
    denied or stricken unless the filing party has previously filed and served a
    Certificate of Interested Persons and Corporate Disclosure Statement. Any party
    who has not already filed and served the required certificate shall do so within the
    time required by this order, or sanctions will be imposed.


            B.     Discovery Not Filed – The parties shall not file discovery materials
    with the Clerk except as provided in Local Rule 3.03. The Court encourages the
    exchange of discovery requests on diskette or by email. See Local Rule 3.03(e).


            C.     Limits on Discovery – Absent leave of Court, the parties may take
    no more than ten depositions per side (not per party). Fed. R. Civ. P. 30(a)(2)(A);
    Fed. R. Civ. P. 31(a)(2)(A). Absent leave of Court, the parties may serve no more
    than twenty-five interrogatories, including sub-parts. Fed. R. Civ. P. 33(a). Absent
    leave of the Court or stipulation by the parties, each deposition is limited to one day
    of seven hours. Fed. R. Civ. P. 30(d)(2). The parties may agree by stipulation on
    other limits on discovery within the context of the limits and deadlines established
    by this Case Management and Scheduling Order, but the parties may not alter the
    terms of this Order without leave of Court. See, e.g., Fed. R. Civ. P. 29.


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          D.      Discovery Deadline – Each party shall timely serve discovery
    requests so that the Rules allow for a response prior to the discovery deadline. The
    Court may deny as untimely all motions to compel filed after the discovery deadline.


            E.      Disclosure of Expert Testimony – On or before the date set forth in
    the above table for the disclosure of expert reports, the party shall fully comply with
    Fed. R. Civ. P. 26(a)(2) and 26(e). Expert testimony on direct examination at trial
    will be limited to the opinions, bases, reasons, data, and other information disclosed
    in the written expert report disclosed pursuant to this Order. Failure to disclose
    such information may result in the exclusion of all or part of the testimony of the
    expert witness.


           F.      Confidentiality Agreements – The parties may reach their own
    agreement regarding the designation of materials as “confidential.” There is no
    need for the Court to endorse the confidentiality agreement. The Court
    discourages unnecessary stipulated motions for a protective order. The Court will
    enforce stipulated and signed confidentiality agreements. See Local Rule 4.15.
    Each confidentiality agreement or order shall provide, or shall be deemed to
    provide, that “no party shall file a document under seal without first having obtained
    an order granting leave to file under seal on a showing of particularized need.” See
    also “Motions to File Under Seal” below.


    II.    MOTIONS


             A.     Certificate of Good Faith Conference – Before filing any motion in a
    civil case, the moving party shall confer with the opposing party in a good faith
    effort to resolve the issues raised by the motion, and shall file with the motion a
    statement certifying that the moving party has conferred with the opposing party,
    and that the parties have been unable to agree on the resolution of the motion.
    Local Rule 3.01(g); Fed. R. Civ. P. 26(c). A certification to the effect that opposing
    counsel was unavailable for a conference before filing a motion is insufficient to
    satisfy the parties' obligation to confer. See Local Rule 3.01(g). No certificate is
    required in a motion for injunctive relief, for judgment on the pleadings, for summary
    judgment, to dismiss or to permit maintenance of a class action, to dismiss for
    failure to state a claim upon which relief can be granted, or to involuntarily dismiss
    an action. Local Rule 3.01(g). Nonetheless, the Court expects that a party alleging
    that a pleading fails to state a claim will confer with counsel for the opposing party
    before moving to dismiss and will agree to an order permitting the filing of a curative
    amended pleading. Fed. R. Civ. P. 15. The term "counsel" in Rule 3.01(g) includes
    pro se parties acting as their own counsel, thus requiring movants to confer with pro
    se parties and requiring pro se movants to file Rule 3.01(g) certificates. The term
    “confer” in Rule 3.01(g) requires a substantive conversation in person or by
    telephone in a good faith effort to resolve the motion without court action and does


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    not envision an exchange of ultimatums by fax, letter or email. Counsel who merely
    “attempt” to confer have not “conferred.” Counsel must respond promptly to
    inquiries and communications from opposing counsel. Board of Governors of the
    Florida Bar, Ideals and Goals of Professionalism, ¶ 6.10 and Creed of
    Professionalism ¶ 8 (adopted May 16, 1990), available at www.floridabar.org
    (Professional Practice-Henry Latimer Center for Professionalism.) The Court will
    deny motions that fail to include an appropriate, complete Rule 3.01(g) certificate.


           B.      Extension of Deadlines


           The deadlines established in this Case Management and Scheduling Order
    are not advisory but must be complied with absent approval of the Court.


                    1.      Dispositive Motions Deadline and Trial Not Extended –
    Motions to extend the dispositive motions deadline or to continue the trial are
    generally denied. See Local Rule 3.05(c)(2)(E). The Court will grant an exception
    only when necessary to prevent manifest injustice. A motion for a continuance of
    the trial is subject to denial if it fails to comply with Local Rule 3.09. The Court
    cannot extend a dispositive motion deadline to the eve of trial. In light of the district
    court’s heavy trial calender, a period of at least four months is required before trial
    to receive memoranda in opposition to a motion for summary judgment, and to
    research and resolve the dispositive motion.


                    2.      Extensions of Other Deadlines Disfavored – Motions for an
    extension of other deadlines established in this order, including motions for an
    extension of the discovery period, are disfavored. The deadline will not be
    extended absent a showing of good cause. Fed. R. Civ. P. 16(b); Local Rule
    3.09(a). Failure to complete discovery within the time established by this Order
    shall not constitute cause for continuance. A motion to extend an established
    deadline normally will be denied if the motion fails to recite that: 1) the motion is
    joint or unopposed; 2) the additional discovery is necessary for specified reasons;
    3) all parties agree that the extension will not affect the dispositive motions deadline
    and trial date; 4) all parties agree that any discovery conducted after the dispositive
    motions date established in this Order will not be available for summary judgment
    purposes; and 5) no party will use the granting of the extension in support of a
    motion to extend another date or deadline. The filing of a motion for extension of
    time does not toll the time for compliance with deadlines established by Rule or
    Order.


           C.      Motions to Compel and for Protective Order – Motions to compel
    and motions for a protective order will be denied unless the motion fully complies
    with Local Rule 3.04, requiring the motion to quote in full each interrogatory,
    question, or request; to quote in full opposing party’s objection and grounds, or

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    response which is asserted to be insufficient; and to state the reasons the motion
    should be granted.


          D.      Motions to File Under Seal – Whether documents filed in a case
    may be filed under seal is a separate issue from whether the parties may agree that
    produced documents are confidential. Motions to file under seal are disfavored,
    and such motions will be denied unless they comply with Local Rule 1.09.


           E.      Memoranda in Opposition – Each party opposing any written
    motion, except a motion for summary judgment under Section II H below, shall file
    and serve, within fourteen days after being served with such motion, a legal
    memorandum with citation of authorities in opposition to the relief requested. Local
    Rule 3.01(b). Where no memorandum in opposition has been filed, the Court
    routinely grants the motion as unopposed. Motions titled as “unopposed” or
    “agreed” normally come to the Court’s attention prior to the deadline for response.


            F.      Emergency Motions – The Court may consider and determine
    emergency motions at any time. Local Rule 3.01(e). Counsel should be aware that
    the designation “emergency” may cause a judge to abandon other pending matters
    in order to immediately address the “emergency.” The Court will sanction any
    counsel or party who designates a motion as “emergency” under circumstances
    that are not a true emergency. It is not an emergency when counsel has delayed
    discovery until the end of the discovery period. Promptly after filing an emergency
    motion, counsel shall place a telephone call to the chambers of the presiding judge
    to notify the court that an emergency motion has been filed.


            G.     Page Limits - No party shall file a motion and supporting
    memorandum in excess of twenty-five pages. Local Rule 3.01(a). No party shall file
    an opposing brief or memorandum in excess of twenty pages. Local Rule 3.01(b).
    A motion requesting leave to file either a motion in excess of twenty-five (25) pages,
    a response in excess of twenty (20) pages, or a reply or further memorandum shall
    not exceed three (3) pages, shall specify the length of the proposed filing, and shall
    not include, as an attachment or otherwise, the proposed motion, response, reply,
    or other paper. Local Rule 3.01(d). Motions for relief from page limitations are
    disfavored and will not be granted without a specific showing of good cause.


           H.      Motions for Summary Judgment : Required Materials – A motion
    for summary judgment shall specify the material facts as to which the moving party
    contends there is no genuine issue for trial, and shall include a memorandum of
    law, and shall be accompanied by affidavits and other evidence in the form required
    by Fed. R. Civ. P. 56. The motion for summary judgment and supporting
    memorandum of law shall be presented in a single document of not more than
    twenty-five pages. Local Rule 3.01(a).

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             Each party opposing a motion for summary judgment shall serve, within
    thirty days after being served with such motion, a legal memorandum with citation
    of authorities in opposition to the relief requested as required by Local Rule 3.01(b)
    of not more than twenty pages. The memorandum in opposition shall specify the
    material facts as to which the opposing party contends there exists a genuine issue
    for trial, and shall be accompanied by affidavit(s) and other evidence in the form
    required by Fed. R. Civ. P. 56. The moving party may file a reply memorandum,
    not exceeding ten pages, within fourteen days after the response is served.
    NOTE: The thirty-day response deadline and the fourteen-day reply deadline
    are NOT entitled to the additional three days provided for in Federal Rule of
    Civil Procedure 6(d).
           Both the movant and the party opposing summary judgment shall provide
    pinpoint citations to the pages and lines of the record supporting each material fact.
    General references to a deposition are inadequate. On or before the date on which
    the memorandum in opposition is due, the parties may also file a stipulation of
    agreed material facts signed by the movant and the parties opposing summary
    judgment pursuant to Local Rule 4.15. Material facts set forth in the stipulation will
    be deemed admitted for the purposes of the motion.


            I.     Daubert and Markman Motions – On or before the date established
    in the above table for the filing of motions for summary judgment, any party seeking
    a ruling pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
    (1993) (admissibility of expert opinions) or pursuant to Markman v. Westview
    Instruments, Inc., 517 U.S.370 (1996) (interpretation of a patent claim) shall file and
    serve an appropriate motion. The parties shall prepare a glossary of technical or
    scientific terms where appropriate for the Court.


            J.     All Other Motions Including Motions In Limine – On or before the
    date established in the above table, the parties shall file and serve all other motions
    including motions in limine. Local Rule 3.01(g) applies, and the parties shall confer
    to define and limit the issues in dispute.


    III.   JOINT FINAL PRETRIAL STATEMENT


            A.     Meeting In Person – On or before the date established in the above
    table, lead trial counsel for all parties and any unrepresented parties shall meet
    together in person pursuant to Local Rule 3.06(b) in a good faith effort to:


                   1.    settle the case; the parties shall thoroughly and exhaustively
    discuss settlement of the action before undertaking the extensive efforts needed to
    conduct final preparation of the case for trial and to comply with the requirements of
    this order;

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                   2.      stipulate to as many facts and issues as possible; in order to
    assist the Court, the parties shall make an active and substantial effort to stipulate
    at length and in detail as to agreed facts and law, and to limit, narrow, and simplify
    the issues of fact and law that remain contested; as a rule, parties who have
    complied with this requirement in good faith will file a Joint Final Pretrial Statement
    listing far more agreed facts and principles of law than those that remain for
    determination at trial;


                     3.       tag, mark, identify, examine, copy, and list all original trial
    exhibits (including actual document exhibits) that any party will offer in evidence or
    otherwise tender to any witness during trial [Local Rule 3.06(b)(3) and 3.07(a)]
    (instructions for pre-marking of exhibits attached to this order); and prepare and
    exchange a final exhibit list on the Clerk’s approved form (attached to this order)
    bearing a description identifying each exhibit and sponsoring witness [Local Rule
    3.07(b)]; it is anticipated that counsel will agree to the admission of the bulk of the
    opposing parties’ exhibits without objection and shall designate on the exhibit list
    the exhibits which the Court may admit without objection at trial. Absent good
    cause, the Court will not receive in evidence over objection any exhibits – including
    charts, diagrams, and demonstrative evidence – not presented to opposing counsel
    or unrepresented parties for inspection and copying at the required meeting or not
    listed in the joint final pretrial statement. Photographs of sensitive exhibits (i.e.,
    guns, drugs, valuables) and of non-documentary evidence, and reductions of
    documentary exhibits larger than 8 ½” by 14” to be substituted for original exhibits
    after conclusion of the trial must be presented to opposing counsel for examination
    at the meeting to prepare the Joint Final Pretrial Statement. Objections to such
    photographs or reductions of exhibits must be listed in the Joint Final Pretrial
    Statement. The parties are directed to contact the trial judge’s courtroom deputy
    clerk to discuss exhibits and equipment to be used during trial; and


                  4.       exchange the names and addresses of all witnesses and state
    whether they will likely be called.


           B.      The Joint Final Pretrial Statement


                   1.      Form of Joint Final Pretrial Statement – On or before the
    date established in the above table, the parties shall file a Joint Final Pretrial
    Statement that strictly conforms to the requirements of Local Rule 3.06(c) and this
    Order. This case must be fully ready for trial at the time that the Joint Final
    Pretrial Statement is due. Anticipated length of trial based on issues remaining at
    the time of the pretrial conference must be included as a separate line item in the
    parties Joint Final Pretrial Statement. Lead trial counsel for all parties, or the parties
    themselves if unrepresented, shall sign the Joint Final Pretrial Statement.
    Sanctions may be imposed for failure to comply, including the striking of pleadings.
    At the conclusion of the final pretrial conference, all pleadings are deemed to

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    merge into the Joint Final Pretrial Statement, which will control the course of the
    trial. Local Rule 3.06(e).


                   2.       Exhibit List – The exhibit list filed in compliance with Local
    Rules 3.06(c)(4) and 3.07(b) must be on the Clerk’s approved form (attached to this
    order). Unlisted exhibits will not be received into evidence at trial, except by order
    of the Court in the furtherance of justice. See Local Rule 3.06(e). The Joint Final
    Pretrial Statement must attach each party’s exhibit list on the approved form listing
    each specific objection (“all objections reserved” does not suffice) to each
    numbered exhibit that remains after full discussion and stipulation. Objections not
    made – or not made with specificity – are waived.


                   3.      Witness List – On the witness list required by Local Rule
    3.06(c)(5), the parties and counsel shall designate which witnesses will definitely be
    called, and also designate which witnesses may be called. Absent good cause, the
    Court will not permit over objection testimony from unlisted witnesses at trial. This
    restriction does not apply to true rebuttal witnesses (i.e., witnesses whose
    testimony could not reasonably have been foreseen to be necessary). Records
    custodians may be listed but will not likely be called at trial, except in the rare event
    that authenticity or foundation is contested. For good cause shown in compelling
    circumstances, the Court may permit presentation of testimony in open court by
    contemporaneous transmission from a different location. Fed.R.Civ.P. 43(a).


                   4.      Depositions – The Court encourages stipulations of fact to
    avoid calling unnecessary witnesses. Where a stipulation will not suffice, the Court
    permits the use of depositions. At the required meeting, counsel and
    unrepresented parties shall agree upon and specify in writing in the Joint Final
    Pretrial Statement the pages and lines of each deposition (except where used
    solely for impeachment) to be published to the trier of fact. The parties shall
    include in the Joint Final Pretrial Statement a page-and-line description of any
    testimony that remains in dispute after an active and substantial effort at resolution,
    together with argument and authority for each party’s position. The parties shall
    prepare for submission and consideration at the final pretrial conference or trial an
    edited and marked copy (as to the portion offered by each party) of any deposition
    or deposition excerpt which is to be offered in evidence.


            Five (5) days prior to trial, the parties shall file with the Court color-coded
    copies of deposition transcripts (preferably mini-script versions), reflecting, in
    different highlighted colors, the deposition excerpts designated by each party to be
    read at trial, with objections noted in the margin. Unresolved objections to
    videotape depositions shall be submitted to the Court ten (10) days prior to trial.




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                   5.      Joint Jury Instructions, Verdict Form, Voir Dire Questions
    – In cases to be tried before a jury, the parties shall attach to the Joint Final Pretrial
    Statement a single jointly-proposed set of jury instructions in order of
    presentation to the jury, together with a single jointly-proposed jury verdict form.
    Local Rule 5.01(c). The parties should be considerate of their jury, and therefore
    should submit short, concise special verdict forms. The Court prefers pattern jury
    instructions approved by the United States Court of Appeals for the Eleventh
    Circuit. A party may include at the appropriate place in the single set of jointly-
    proposed jury instructions a contested charge, so designated with the name of the
    requesting party and bearing at the bottom a citation of authority for its inclusion,
    together with a summary of the opposing party’s objection. The Court will deny
    outright a proposed instruction that is “slanted” in any way. The Court requires that
    the parties, send to the Chamber's email
    [chambers flmd covington@flmd.uscourts.gov] the single set of jury instructions
    and verdict form, in Microsoft Word®. The parties may include in the Joint Final
    Pretrial Statement a single list of jointly-proposed questions for the Court to ask the
    venire during voir dire.


             C.      Coordination of Joint Final Pretrial Statement – All parties are
    responsible for filing a Joint Final Pretrial Statement in full compliance with this
    order. Plaintiff’s counsel (or plaintiff if all parties are proceeding pro se) shall have
    the primary responsibility to coordinate compliance with the sections of this order
    that require a meeting of lead trial counsel and unrepresented parties in person and
    the filing of a Joint Final Pretrial Statement and related material. See Local Rule
    3.10 (relating to failure to prosecute). If the plaintiff is proceeding pro se, defense
    counsel shall coordinate compliance. If counsel is unable to coordinate such
    compliance, counsel shall timely notify the Court by written motion or request for a
    status conference.


         D.      Trial Briefs, Proposed Findings of Fact and Conclusions of Law,
    and Exhibit Notebooks


                   Trial Briefs – Unless the Court specifically directs otherwise, Trial
    Briefs are not required in any civil case. If a party chooses to file a Trial Brief, such
    Trial Brief may be filed anytime, until and including the date of trial.


                    Proposed Findings of Fact and Conclusions of Law – In the case
    of a non-jury trial, the parties are directed to file Proposed Findings of Fact and
    Conclusions of Law after the trial. The due date will be specified by the Court at the
    Final Pretrial Conference, and will usually fall between 30 and 60 days after the
    conclusion of the trial depending on the Court Reporter’s schedule. Proposed
    Findings of Fact and Conclusions of Law should contain citations to the record.



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                   Exhibit Notebook – On the first day of a jury trial or non-jury trial, the
    parties shall provide to the Court a bench notebook containing marked copies of all
    exhibits. The parties may contact the courtroom deputy clerk for the trial judge to
    determine whether this requirement may be waived.


    IV.    MEDIATION


            A.      Purpose – To minimize costly pretrial procedures in a case that may
    be equitably settled, and to secure the just, speedy, and inexpensive determination
    of this action, all parties shall participate in good faith in mediation. See
    Fed.R.Civ.P. 1; Fed.R.Civ.P. 16(a)(5); Local Rules 1.01(b), 9.01(b).


           B.      The Mediator – This Court prefers to appoint the certified and
    approved mediator, if any, chosen by the parties in their Case Management Report.
    The mediator shall conduct the mediation conference in the conference room of the
    mediator’s law firm or office at a time and date selected by the mediator within the
    confines of this order.


           C.     Last Date to Mediate – The parties shall complete the mediation
    conference on or before the mediation date set forth earlier in the above table.
    Despite Local Rule 9.05(d), neither the mediator nor the parties have authority to
    continue the mediation conference beyond this date except on express order of the
    Court. In any Track Three case, complex case, or case involving multiple parties,
    the mediator has the authority to conduct the mediation in a series of sessions and
    in groups of parties so that mediation is complete by the last date to mediate.


            D.     Mediator’s Authority – The mediator shall have all powers and
    authority to conduct a mediation and to settle this case as are described in Chapter
    Nine of the Local Rules, except as limited by this order. The mediation shall
    continue until adjourned by the mediator. In order to coordinate the mediation
    conference, the mediator may set an abbreviated scheduling conference prior to
    the scheduled mediation. At such time, the mediator may designate one or more
    coordinating attorneys who shall be responsible for conferring with the mediator
    regarding the mediation conference. If necessary, the coordinating attorney may
    coordinate the rescheduling of a mediation conference within the time allowed in
    this order.


           E.      General Rules Governing Mediation Conference
                         1.      Case Summaries – Not less than two days prior to the
    mediation conference, each party shall deliver to the mediator a written summary of
    the facts and issues of the case.


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                   2.       Identification of Corporate Representative – As part of the
    written case summary, counsel for each corporate party shall state the name and
    general job description of the employee or agent who will attend and participate
    with full authority to settle on behalf of the corporate party.


                   3.      Attendance Requirements and Sanctions – Each attorney
    acting as lead trial counsel, and each party (and in the case of a corporate party, a
    corporate representative) with full authority to settle, shall attend and participate in
    the mediation conference. In the case of an insurance company, the term “full
    authority to settle” means authority to settle for the full value of the claim or policy
    limit. The Court will impose sanctions upon lead counsel and parties who do not
    attend and participate in good faith in the mediation conference.


                   4.    Personal Attendance Required – All counsel, parties,
    corporate representatives, and any other required claims professionals shall be
    present at the Mediation Conference with full authority to negotiate a settlement.
    The Court does not allow mediation by telephone or video conference. Personal
    attendance is required. See Local Rule 9.05(c).


                  5.     Authority to Declare Impasse – Participants shall be
    prepared to spend as much time as may be necessary to settle the case. No
    participant may force the early conclusion of a mediation because of travel plans or
    other engagements. Only the mediator may declare an impasse or end the
    mediation.


                   6.      Restrictions on Offers to Compromise – Evidence of an
    offer to compromise a claim is not admissible to prove liability for or invalidity of the
    claim or its amount. Fed. R. Evid. 408 (includes evidence of conduct or statements
    made in compromise negotiations); Local Rule 9.07(b). All discussion,
    representations and statements made at the mediation conference are privileged
    settlement negotiations. Except in a supplemental proceeding to enforce a
    settlement agreement, nothing related to the mediation conference shall be
    admitted at trial or be subject to discovery. Local Rule 9.07; Fed. R. Evid. 408. A
    communication between a party and a mediator during a private caucus is also
    confidential, unless the party tells the mediator that it is not.


           F.      Compensation of Mediators – Absent agreement of the parties and
    the mediator, mediators shall be compensated at a reasonable hourly rate provided
    by order of the Court after consideration of the amount in controversy, the nature of
    the dispute, the resources of the parties, the prevailing market rate for mediators in
    the applicable market, the skill and experience of the mediator, and other pertinent
    factors. Unless altered by order of the Court, the cost of the mediator's services
    shall be borne equally by the parties to the mediator conference.

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           G.      Settlement and Report of Mediator – A settlement agreement
    reached between the parties shall be reduced to writing and signed by the parties
    and their attorneys in the presence of the mediator. See also Local Rule 9.06(b)
    and 3.08. Within twenty-four hours of the conclusion of the mediation conference,
    the mediator shall file and serve a written mediation report stating whether all
    required parties were present, whether the case settled, and whether the mediator
    was forced to declare an impasse. See Local Rule 9.06. The mediator may report
    any conduct of a party or counsel that falls short of a good faith effort to resolve the
    case by agreement or fails to comply with this Order. See Local Rule 9.05(e),
    9.06(a).



    V.     FINAL PRETRIAL CONFERENCE


           A.     Lead Trial Counsel and Parties – If a final pretrial conference is set,
    lead trial counsel and local counsel for each party, together with any
    unrepresented party, must attend in person unless previously excused by the
    Court. See Local Rule 3.06(d); Fed.R.Civ.P. 16(d).


             B.      Substance of Final Pretrial Conference – Since this case must be
    fully ready for trial at the time that the Joint Final Pretrial Statement is due, at the
    final pretrial conference, all counsel and parties must be prepared and authorized to
    accomplish the purposes set forth in Fed.R.Civ.P. 16 and Local Rule 3.06, including
    formulating and simplifying the issues; eliminating frivolous claims and defenses;
    admitting facts and documents to avoid unnecessary proof; stipulating to the
    authenticity of documents; obtaining advance rulings from the Court on the
    admissibility of evidence; settling the dispute; disposing of pending motions;
    establishing a reasonable limit on the time allowed for presenting evidence; and
    such other matters as may facilitate the just, speedy, and inexpensive disposition of
    the action. See Fed.R.Civ.P. 16(c)-(d).


    VI.      SANCTIONS – The Court will impose sanctions on any party or attorney: 1)
    who fails to attend and to participate actively in the meeting to prepare the Joint
    Pretrial Statement, or who refuses to sign and file the agreed document; 2) who
    fails to attend the Final Pretrial Conference, or who is substantially unprepared to
    participate; 3) who fails to attend the mediation and actively participate in good
    faith, or who attends the mediation without full authority to negotiate a settlement,
    or who is substantially unprepared to participate in the mediation; or 4) who
    otherwise fails to comply with this order. Sanctions may include but are not limited
    to an award of reasonable attorney's fees and costs, the striking of pleadings, the
    entry of default, the dismissal of the case, and a finding of contempt of court. See
    Fed.R.Civ.P. 16(f) and 37; Local Rules 9.05(c), (e); 28 U.S.C. § 1927.


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    VII.   TRIAL


                   A.      Trial Before District Judge – A case scheduled for trial before
    a United States District Court Judge normally will be called for trial during the
    scheduled trial term. Cases not reached for trial in the month scheduled will be
    carried over to the following month on a trailing trial calendar, and issued
    subpoenas will continue in force.
            B.      Trial Before Magistrate Judge – A case scheduled for trial before a
    United States Magistrate Judge will be called for trial on a date certain. With
    respect to a civil case that remains pending before a District Judge as of the date of
    this order, the United States District Judges of the Middle District of Florida wish to
    afford the parties the opportunity to consent to proceed before a Magistrate Judge.
    Consent must be unanimous. A United States Magistrate Judge is available
    pursuant to 28 U.S.C. § 636(c) and Fed.R.Civ.P. 73(a) to conduct all further
    proceedings in this case (or specified motions in this case), to conduct a jury or
    non-jury trial beginning on a date certain, and to enter final judgment. A party
    may appeal a final judgment of a Magistrate Judge to the United States Court of
    Appeals for the Eleventh Circuit in the same manner as an appeal from the district
    court. 28 U.S.C. § 636(c)(3); Fed.R.Civ.P. 73. A party is free to withhold consent
    without adverse substantive consequences. 28 U.S.C. § 636 (c)(2); Fed.R.Civ.P.
    73(b). Consent forms are attached to this scheduling order. Fed.R.Civ.P. 73(b);
    Local Rule 6.05.


             C.     Settlement – Counsel shall immediately notify the Court upon
    settlement of any case. Local Rule 3.08(a). The parties shall notify the Court of
    any settlement or other disposition of the case which will eliminate the need for a
    jury by 11:30 a.m. on the last business day before the date scheduled for jury
    selection. Failure to do so will subject each party to joint and several liability for jury
    costs. Regardless of the status of settlement negotiations, the parties shall appear
    for all scheduled hearings, including the Final Pretrial Conference and for trial
    absent the filing of a stipulation of dismissal signed by all parties who have
    appeared in the action (or notice of dismissal if prior to answer and motion for
    summary judgment). Fed.R.Civ.P. 41(a).


            D.    Electronic Equipment – The parties are advised (and should advise
    their witnesses) that photo identification is required to enter the United States
    Courthouse. Parties and witnesses are not permitted to bring into the Courthouse a
    personal electronic device.


                   By court order dated September 26, 2013, any attorney permitted to
    practice law in the Middle District of Florida may bring any personal electronic
    device beyond the courthouse’s security checkpoint by presenting a valid Florida
    Bar identification card or by pro hac vice order. See attached order for guidelines.

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           DONE and ORDERED in Tampa, Florida on this 26th day of March, 2018.




    Attachments: Magistrate Judge Consent / Entire Case
                  Magistrate Judge Consent / Specified Motions
                  Exhibit List Form [mandatory form]
                  Order on Possession and Use of Personal Electronic Devices in Federal
                  Courthouses in the Middle District of Florida


    Copies to:    All Counsel of Record




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       Case 8:17-cv-02427-VMC-AAS Document 35 Filed 03/26/18 Page 16 of 19 PageID 295
AO 85 (Rev. 8/98) Notice, Consent and Order of Reference Exercise of Jurisdiction of United States Magistrate Judge



                                                      UNITED STATES DISTRICT COURT
                                                        MIDDLE DISTRICT OF FLORIDA
                                                               TAMPA DIVISION



                                        PLAINTIFF,


-VS-                                                                                                                    CASE NO.




                                        DEFENDANT.
________________________________________


                                   NOTICE OF AVAILABILITY OF A UNITED STATES M AGISTRATE JUDGE
                                                           TO EXERCISE JURISDICTION


        IN ACCORDANCE WITH THE PROVISIONS OF 28 U.S.C. 636(C) AND FED. R. CIV. P. 73, YOU ARE HEREBY NOTIFIED THAT A
UNITED STATES MAGISTRATE JUDGE OF THIS DISTRICT COURT IS AVAILABLE TO CONDUCT ANY OR ALL PROCEEDINGS IN THIS CASE,
INCLUDING A JURY OR NONJURY TRIAL, AND TO ORDER THE ENTRY OF A FINAL JUDGMENT. EXERCISE OF THIS JURISDICTION BY A
MAGISTRATE JUDGE IS, HOWEVER, PERMITTED ONLY IF ALL PARTIES VOLUNTARILY CONSENT.



          YOU MAY, WITHOUT ADVERSE SUBSTANTIVE CONSEQUENCES, WITHHOLD YOUR CONSENT, BUT THIS WILL PREVENT THE
COURT’S JURISDICTION FROM BEING EXERCISED BY A MAGISTRATE JUDGE. IF ANY PARTY WITHHOLDS CONSENT, THE IDENTITY OF
THE PARTIES CONSENTING OR WITHHOLDING CONSENT WILL NOT BE COMMUNICATED TO ANY MAGISTRATE JUDGE OR TO THE
DISTRICT JUDGE TO WHOM THE CASE HAS BEEN ASSIGNED.



          AN APPEAL FROM A JUDGMENT ENTERED BY A MAGISTRATE JUDGE SHALL BE TAKEN DIRECTLY TO THE UNITED STATES
COURT OF APPEALS FOR THIS JUDICIAL CIRCUIT IN THE SAME MANNER AS AN APPEAL FROM ANY OTHER JUDGMENT OF A DISTRICT
COURT.



                           CONSENT TO EXERCISE OF JURISDICTION BY A UNITED STATES M AGISTRATE JUDGE


          IN ACCORDANCE WITH THE PROVISIONS OF 28 U.S.C. 636(C), AND FED.R.CIV.P. 73, THE PARTIES IN THIS CASE HEREBY
VOLUNTARILY CONSENT TO HAVE A UNITED STATES MAGISTRATE JUDGE CONDUCT ANY AND ALL FURTHER PROCEEDINGS IN THE
CASE, INCLUDING, THE TRIAL, ORDER THE ENTRY OF A FINAL JUDGMENT, AND CONDUCT ALL POST-JUDGMENT PROCEEDINGS.



                    SIGNATURES                                          PARTY REPRESENTED                             DATE


___________________________________                                   _______________________________________________________


___________________________________                                   _______________________________________________________
        Case 8:17-cv-02427-VMC-AAS Document 35 Filed 03/26/18 Page 17 of 19 PageID 296
AO 85 (Rev. 8/98) Notice, Consent and Order of Reference Exercise of Jurisdiction of United States Magistrate Judge
___________________________________                                   _______________________________________________________




                                                             O RDER O F REFERENCE


          IT IS ORDERED THAT THIS CASE BE REFERRED TO THE UNITED STATES MAGISTRATE JUDGE FOR ALL FURTHER
PROCEEDINGS AND THE ENTRY OF JUDGMENT IN ACCORDANCE WITH 28 U.S.C.  636(C), FED. R. CIV. P. 73 AND THE FOREGOING
CONSENT OF THE PARTIES.



___________________________________                                          __________________________________________________
               DATE                                                                             UNITED STATES DISTRICT JUDGE


NOTE:     RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE CONSENTED ON THIS FORM TO THE EXERCISE OF
          JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
        Case 8:17-cv-02427-VMC-AAS Document 35 Filed 03/26/18 Page 18 of 19 PageID 297
AO 85 (Rev. 8/98) Notice, Consent and Order of Reference Exercise of Jurisdiction of United States Magistrate Judge

                                              UNITED STATES DISTRICT COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                              TAMPA DIVISION



                                        PLAINTIFF,


-VS-                                                                                                                          CASE NO.




                                        DEFENDANT.
________________________________________


                 CONSENT TO EXERCISE JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE
                        OVER DISPOSITIVE MOTIONS DESCRIBED UNDER 28 U.S.C. § 636(B)(1)(B)


                                             CONSENT TO EXERCISE OF JURISDICTION


          IN                                 28 U.S.C. § 636(C) AND FED.R.CIV .P. 73, THE PARTIES IN THIS CASE
               ACCORDANCE WITH THE PROVISIONS OF
CONSENT TO HAVE A     UNITED STATES M AGISTRATE JUDGE CONDUCT ANY AND ALL PROC EEDINGS A ND ENTER A FINAL
ORDER AS TO EACH M OTION IDENTIFIED BELOW.



          MOTION(S)                     _____________________________________________


                                        _____________________________________________


       PARTY REPRESENTED                                               SIGNATURES                                           DATE


___________________________                       __________________________________                              ______________________


___________________________                       __________________________________                              ______________________


___________________________                       __________________________________                              ______________________


                                                            ORDER OF REFERENCE
     Case 8:17-cv-02427-VMC-AAS Document 35 Filed 03/26/18 Page 19 of 19 PageID 298
        IT IS ORDERED     THAT THE A BOVE M OTIONS(S) BE REFERRED TO THE      UNITED STATES M AGISTRATE JUDGE
ASSIGNED TO THIS   CASE TO CONDUCT      ALL   PROC EEDINGS   AND ENTER A   FINAL ORDER ON SUCH M OTIONS(S) IN
ACCORDANCE WITH 28 U.S.C. § 636(C) AND FED.R.CIV .P. 73.




___________________                                          __________________________________________
      DATE                                                                    UNITED STATES DISTRICT JUDGE


NOTE:          RETURN THIS FORM TO THE CLERK OF COURT ONLY IF ALL PARTIES HAVE CONSENTED
               ON THIS FORM TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE
               JUDGE.
